          Case 3:21-cv-00038-CDL Document 37 Filed 09/06/22 Page 1 of 2




                        IN THE UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF GEORGIA
                                   ATHENS DIVISION

AMY ILER,                                 )
                                          )
                                          )
      Plaintiff,                          )
                                          ) CIVIL ACTION
v.                                        ) FILE NO.: 3:21-cv-00038-CDL
                                          )
WAL-MART STORES EAST, L.P.,               )
And WALMART INC,                          )
                                          )
                                          )
      Defendants.                         )
__________________________________________)

                                 NOTICE OF SETTLEMENT
        COME NOW the parties in the above-styled action and hereby provide notice to the Court

that this case has settled.

        This 2nd day of September, 2022.

         Counsel for Plaintiff                          Counsel for Defendants

         /s/ Charles W. Ruffin                          /s/ Ernest L. Beaton, IV
         Michael Ruppersburg                            Ernest L. Beaton, IV
         Georgia Bar No. 432211                         Georgia Bar No. 213044
         mr@bbga.com                                    ebeaton@mmatllaw.com
         Charles W. Ruffin
         Georgia Bar No. 829668
         cruffin@bbga.com

         BLASINGAME, BURCH, GARRARD                     McLAIN & MERRITT, PC
         & ASHLEY, P.C.

         P.O. Box 832                                   3445 Peachtree Rd., NE
         Athens, GA 30603                               Suite 500
         (706) 354-4000                                 Atlanta, GA 30326
                                                        (404) 266-9171
         Case 3:21-cv-00038-CDL Document 37 Filed 09/06/22 Page 2 of 2




                                CERTIFICATE OF SERVICE

       The undersigned, counsel for Plaintiff in the above civil action, hereby certifies that he

has this day served Defendant with a copy of the foregoing NOTICE OF SETTLEMENT via

the CM/ECF system, which will deliver a copy of said document to the following:

                                    Ernest L. Beaton, IV
                                  McLain & Merritt, P.C.
                                 3445 Peachtree Road, N.E.
                                         Suite 500
                                     Atlanta GA 30326
                               ATTORNEY FOR DEFENDANT

       This 2nd day of September, 2022.

                                                     BLASINGAME, BURCH, GARRARD
                                                     & ASHLEY, P.C.

                                             By:     /s/ Charles W. Ruffin
                                                     Michael Ruppersburg
                                                     Georgia Bar No.: 432211
                                                     mr@bbga.com
                                                     Charles W. Ruffin
                                                     Georgia Bar No.: 829668
                                                     cruffin@bbga.com
P.O. Box 832
Athens, GA 30603
(706) 354-4000
